 Fill in this information to identify the case:

  Debtor 1       Casimir J Rogala

  Debtor 2       Lisa A Rogala

 United States Bankruptcy Court for the: Northern District of Ohio

 Case number :    18-51273-amk



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                  12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to
your proof of claim at least 21 days before the new payment is due. See Bankruptcy Rule 3002.1.
     Name of               U.S. Bank Trust National Association, as Trustee of CVF Court claim no.                                                     13
     creditor:             III Mortgage Loan Trust II                              (if known):
     Last 4 digits of any number                                                                     Date of payment change:                   06/01/2020
     you use to identify the debtor's                                     9340                       Must be at least 21 days after date of
     account:                                                                                        this notice

                                                                                                     New total payment:                        $2,215.72
                                                                                                     Principal, interest, and escrow, if any


Part 1:       Escrow Account Payment Adjustment

1.   Will there be a change in the debtor's escrow account payment?
      [ ] No
      [X]     Yes. Attach a copy of the escrow account statement prepared in a form consistent with the applicable nonbankruptcy law.
                      Describe the basis for the change. If a statement is not attached, explain why:

                             Current escrow payment: $517.60                              New escrow payment: $569.24



Part : 2      Mortgage Payment Adjustment

2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
   variable-rate account?

      [X] No
      [ ] Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a
                     notice is not attached, explain why:

                     Current interest rate:                                      New interest rate:
                     Current Principal and interest payment:                     New principal and interest payment:



Part 3:       Other Payment Change

3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
       [X] No
       [ ] Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                      agreement. (Court approval may be required before the payment change can take effect).
                      Reason for change:
                             Current mortgage payment:                                    New mortgage payment:




Official Form 410S1                                                  Notice of Mortgage Payment Change                                                     page 1


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Debtor 1 Casimir J Rogala                                                             Case number (if known)           18-51273-amk
                First Name                Middle Name         Last Name




Part 4:           Sign Below

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

Check the appropriate box:


[]       I am the creditor.

[X]       I am the creditor's attorney or authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.


         /s/ Kristin A. Zilberstein                                                         Date    05/09/2020
    Signature



Print:                       Kristin A. Zilberstein                              Title Authorized Agent for Creditor

Company                      Padgett Law Group

Address                      6267 Old Water Oak Road, Suite 203

                             Tallahassee FL, 32312

Contact phone                (850) 422-2520                   Email              PLGinquiries@padgettlawgroup.com




Official Form 410S1                                                   Notice of Mortgage Payment Change                                             page 2


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                                      CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to the parties

on the attached Service List by electronic service and/or by First Class U.S. Mail on this the _________
                                                                                                  11th   day of

May, 2020.



                                                    /S/ Kristin A. Zilberstein

                                                    ___________________________________
                                                    KRISTIN A. ZILBERSTEIN
                                                    PADGETT LAW GROUP
                                                    6267 Old Water Oak Road, Suite 203
                                                    Tallahassee, FL 32312
                                                    (850) 422-2520 (telephone)
                                                    (850) 422-2567 (facsimile)
                                                    PLGinquiries@padgettlawgroup.com
                                                    Authorized Agent for Creditor




Official Form 410S1                      Notice of Mortgage Payment Change                                    page 3


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                               SERVICE LIST (CASE NO. 18-51273-amk)

Debtor
Casimir J Rogala
1701 Mayflower Lane
Hudson, OH 44236

Co-Debtor
Lisa A Rogala
1701 Mayflower Lane
Hudson, OH 44236

Attorney
David A. Mucklow
919 E Turkeyfoot Lake Road #B
Akron, OH 44312

Trustee
Keith Rucinski
Chapter 13 Trustee
One Cascade Plaza Suite 2020
Akron, OH 44308




Official Form 410S1                  Notice of Mortgage Payment Change                       page 4


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                                                                   Shellpoint Mortgage Servicing
                                                                   PO Box 10826
                                                                   Greenville, SC 29603 0826
                                                                   For Inquiries: (800) 365-7107


                                                                                                                                      Analysis Date:                                              April 15, 2020
        CASIMIR J ROGALA                                                                                                              Loan:
        1701 Mayflower Ln                                                                                                             Property Address:
        Hudson OH 44236                                                                                                               1701 Mayflower Ln
                                                                                                                                      Hudson, OH 44236




                                                                  Annual Escrow Account Disclosure Statement - Account History
      The following is an overview of your escrow account with Shellpoint Mortgage Servicing. It contains the history of escrow payments made on your
      behalf in the prior year, and a snapshot of the anticipated disbursements for the coming year. Any potential adjustments due to increases or
      decreases with your escrow items may affect your monthly escrow payment. If your escrow payment increases, your monthly payment will also
      increase. If the escrow payment decreases, your mortgage payment will decrease.

Payment Information              Contractual           Effective Jun 01, 2020         Prior Esc Pmt                     June 01, 2019         Escrow Balance Calculation

P & I Pmt:                          $1,646.48                       $1,646.48         P & I Pmt:                            $1,646.48         Due Date:                                         November 01, 2018
Escrow Pmt:                          $421.58                         $569.24          Escrow Pmt:                            $517.60          Escrow Balance:                                               $0.00
Other Funds Pmt:                        $0.00                           $0.00         Other Funds Pmt:                          $0.00         Anticipated Pmts to Escrow:                              $9,162.26
Asst. Pmt (-):                          $0.00                           $0.00         Asst. Pmt (-):                            $0.00         Anticipated Pmts from Escrow (-):                             $0.00
Reserve Acct Pmt:                       $0.00                           $0.00         Resrv Acct Pmt:                           $0.00

Total Payment:                      $2,068.06                       $2,215.72         Total Payment:                        $2,164.08         Anticipated Escrow Balance:                               $9,162.26


Shortage/Overage Information                                      Effective Jun 01, 2020          Cushion Calculation: Because Shellpoint Mortgage Servicing does not set your tax
                                                                                                  amounts or insurance premiums, your escrow balance contains a cushion of
Upcoming Total Annual Bills                                                    $6,830.86
Required Cushion                                                                                  1,138.48. A cushion is an additional amount of funds held in your escrow in order to
                                                                               $1,138.48
Required Starting Balance                                                      $2,486.73          prevent the balance from becoming overdrawn when an increase in the
Escrow Shortage                                                                    $0.00          disbursement amount occurs. Your lowest monthly balance should not be below
Surplus                                                                        $6675.53           1,138.48 or 1/6 of the anticipated payment from the account.



      This is a statement of actual activity in your escrow account from June 2019 to May 2020. Last year's anticipated activity (payments to and from
      your escrow account) is next to the actual activity.
                              Payments to Escrow                         Payments From Escrow                                                               Escrow Balance
          Date                Anticipated              Actual            Anticipated          Actual                      Description                       Required                Actual
                                                                                                                   Starting Balance                             2,529.47           (7,055.52)
        Jun 2019                      517.60                                                                   *                                                3,047.07           (7,055.52)
        Jun 2019                                                                                      2,486.73 *   County Tax                                   3,047.07           (9,542.25)
        Jul 2019                      517.60                                   2,529.47                        *   County Tax                                   1,035.20           (9,542.25)
        Aug 2019                      517.60                                                                   *                                                1,552.80           (9,542.25)
        Sep 2019                      517.60                                                                   *                                                2,070.40           (9,542.25)
        Oct 2019                      517.60                                                                   *                                                2,588.00           (9,542.25)
        Nov 2019                      517.60                                                                   *                                                3,105.60           (9,542.25)
        Dec 2019                      517.60                                                                   *                                                3,623.20           (9,542.25)
        Jan 2020                      517.60                                                                   *                                                4,140.80           (9,542.25)
        Feb 2020                      517.60                                   2,486.73               2,707.13 *   County Tax                                   2,171.67          (12,249.38)
        Mar 2020                      517.60                                                                   *                                                2,689.27          (12,249.38)
        Mar 2020                                                                                      1,637.00 *   Hazard                                       2,689.27          (13,886.38)
        Apr 2020                      517.60                                   1,195.00                        *   Hazard                                       2,011.87          (13,886.38)
        May 2020                      517.60                                                                   *                                                2,529.47          (13,886.38)
                                                                                                                   Anticipated Transactions                     2,529.47                0.00
        May 2020                                          9,162.26 P                                                                                                               $9,162.26
                                    $6,211.20            $9,162.26            $6,211.20             $6,830.86
      An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call our toll-free number.
      P - The letter (P) beside an amount indicates that the payment or disbursement has not yet occurred but is estimated to occur as shown.




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                                                           Shellpoint Mortgage Servicing
                                                           For Inquiries: (800) 365-7107


                                                                                                                          Analysis Date:                                             April 15, 2020
                                                                                                                          Loan:


                                                  Annual Escrow Account Disclosure Statement - Projections for Coming Year
 This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and from your account.

      Date                     Anticipated Payments                                                                                                  Escrow Balance
                              To Escrow          From Escrow                   Description                                                 Anticipated                Required
                                                                              Starting Balance                                                 9,162.26                   2,486.73
   Jun 2020                        569.24                                                                                                      9,731.50                   3,055.97
   Jul 2020                        569.24              2,486.73               County Tax                                                       7,814.01                   1,138.48
   Aug 2020                        569.24                                                                                                      8,383.25                   1,707.72
   Sep 2020                        569.24                                                                                                      8,952.49                   2,276.96
   Oct 2020                        569.24                                                                                                      9,521.73                   2,846.20
   Nov 2020                        569.24                                                                                                     10,090.97                   3,415.44
   Dec 2020                        569.24                                                                                                     10,660.21                   3,984.68
   Jan 2021                        569.24                                                                                                     11,229.45                   4,553.92
   Feb 2021                        569.24              2,707.13               County Tax                                                       9,091.56                   2,416.03
   Mar 2021                        569.24                                                                                                      9,660.80                   2,985.27
   Apr 2021                        569.24              1,637.00               Hazard                                                           8,593.04                   1,917.51
   May 2021                        569.24                                                                                                      9,162.28                   2,486.75
                                 $6,830.88             $6,830.86
 (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)

 Your ending balance from the last month of the account history (escrow balance anticipated) is 9,162.26. Your starting
 balance (escrow balance required) according to this analysis should be $2,486.73.




 We anticipate the total of your coming year bills to be 6,830.86. We divide that amount by the number of payments expected during the coming year to
 obtain your escrow payment.
   New Escrow Payment Calculation

   Unadjusted Escrow Payment                                               $569.24
   Surplus Reduction:                                                        $0.00
   Shortage Installment:                                                     $0.00
   Rounding Adjustment Amount:                                               $0.00

   Escrow Payment:                                                         $569.24

TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED, DISMISSED OR IS SUBJECT TO AN AUTOMATIC STAY OF BANKRUPTCY ORDER UNDER TITLE 11 OF THE UNITED STATES CODE, THIS
NOTICE IS FOR COMPLIANCE AND INFORMATION PURPOSES ONLY AND DOES NOT CONSTITUTE A DEMAND FOR PAYMENT OR ANY ATTEMPT TO COLLECT ANY SUCH OBLIGATION.




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